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                   IN THE UNITED STATES DISTRICT COURT FOR THE
                          NORTHERN DISTRICT OF FLORIDA
                               GAINESVILLE DIVISION


UNITED STATES OF AMERICA,

v.                                                            CASE NO. 1:05-cr-00017-MP-AK

JEFFERY ROBINSON,

      Defendant.
___________________________/

                                          ORDER

       This matter is before the Court on Doc. 225, Motion to Continue Sentencing by Jeffery

Robinson. The defendant requests the continuance so that he may continue to provide assistance

to the Government in an ongoing case against his co-defendants. A telephone hearing was held

on this matter on Thursday, June 15, 2006. During the hearing, counsel for the defendant

indicated that the Government was unable to attend the hearing, but represented to the court that

the Government had no objections to the motion. Accordingly, the motion is granted.

Defendant’s sentencing is hereby continued until Thursday, August 31, 2006, at 1:30 p.m.

       DONE AND ORDERED this            15th day of June, 2006


                                      s/Maurice M. Paul
                                 Maurice M. Paul, Senior District Judge
